          Case 1-19-40052-nhl          Doc 31      Filed 11/05/20      Entered 11/05/20 11:44:48



                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK


       In re: UNIVERSAL PROPERTIES INC.                               §    Case No. 1-19-40052-NHL
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         DAVID J. DOYAGA SR., chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $0.00                                Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$10,230.99            Claims Discharged
                                                       Without Payment: N/A

 Total Expenses of Administration:$14,769.01


         3) Total gross receipts of $     25,000.00      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $25,000.00
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                               $0.00      $3,001,261.02              $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00          14,769.01         14,769.01          14,769.01

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00           5,365.96           5,365.96          5,365.96
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    500,000.00           5,041.64           5,041.64          4,865.03

                                          $500,000.00      $3,026,437.63         $25,176.61        $25,000.00
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on January 04, 2019.
  The case was pending for 21 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 10/06/2020                 By: /s/DAVID J. DOYAGA SR.
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                            UNIFORM                                $ AMOUNT
              DESCRIPTION
                                                                                           TRAN. CODE 1                            RECEIVED
     Potential fraudulent conveyance action against 1                                      1129-000                                  25,000.00


    TOTAL GROSS RECEIPTS                                                                                                            $25,000.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                            UNIFORM                                $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                           TRAN. CODE                                 PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED                CLAIMS                 CLAIMS            CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form             ASSERTED               ALLOWED             PAID
                                                       CODE                6D)
           3 -1 101-51-53 95th Street LLC              4120-000                     0.00        3,001,261.02                0.00                  0.00


    TOTAL SECURED CLAIMS                                                          $0.00        $3,001,261.02              $0.00                  $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                  CLAIMS                 CLAIMS            CLAIMS
                                                       TRAN.
                                                                      SCHEDULED               ASSERTED               ALLOWED             PAID
                                                       CODE
 Trustee Compensation - DAVID J. DOYAGA SR. 2100-000                            N/A                    3,250.00         3,250.00            3,250.00

 Other - Rosen, Kantrow & Dillon, PLLC                      3210-600            N/A                   11,313.50        11,313.50           11,313.50

 Other - Rosen, Kantrow & Dillon, PLLC                      3220-610            N/A                      99.63            99.63                  99.63

 Other - MYC & Associates, Inc.                             3711-000            N/A                        0.00             0.00                  0.00

 Other - MYC & Associates, Inc.                             3712-000            N/A                        0.00             0.00                  0.00




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 Other - International Sureties, Ltd.       2300-000             N/A                     7.48          7.48          7.48

 Other - Metropolitan Commercial Bank       2600-000             N/A                    19.97         19.97        19.97

 Other - Metropolitan Commercial Bank       2600-000             N/A                    39.91         39.91        39.91

 Other - Metropolitan Commercial Bank       2600-000             N/A                    38.52         38.52        38.52

 TOTAL CHAPTER 7 ADMIN. FEES                               N/A                   $14,769.01      $14,769.01    $14,769.01
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                              CLAIMS                CLAIMS              CLAIMS       CLAIMS
                                         TRAN.
                                                      SCHEDULED             ASSERTED            ALLOWED        PAID
                                         CODE
                                                    None

 TOTAL PRIOR CHAPTER ADMIN.                                N/A                         $0.00         $0.00         $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM        CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED             CLAIMS       CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form          (from Proofs of      ALLOWED        PAID
                                         CODE              6E)                  Claim)
       2P-1 Internal Revenue Service    5800-000           N/A                      4,150.46       4,150.46      4,150.46

       4P-1 New York State Department of 5800-000          N/A                      1,215.50       1,215.50      1,215.50
            Taxation & Finance
 TOTAL PRIORITY UNSECURED                                        $0.00            $5,365.96       $5,365.96     $5,365.96
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM        CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED             CLAIMS       CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form          (from Proofs of      ALLOWED        PAID
                                         CODE              6F)                  Claim)
       1 -1 CONSOLIDATED EDISON COMPANY 7100-000           N/A                         229.61        229.61       229.61
            OF NEW YORK, INC
       2U-1 Internal Revenue Service    7100-000           N/A                      4,562.03       4,562.03      4,562.03

       4U-1 New York State Department of 7200-000          N/A                         250.00        250.00        73.39
            Taxation & Finance
 NOTFILED-1 JP Morgan Chase              7100-000           100,000.00           N/A                 N/A             0.00

 NOTFILED-1 Richard Singh and Esardi    7100-000            150,000.00           N/A                 N/A             0.00
            Singh c/o Steven Zalewski &
 NOTFILED-1 Luther Dye, Esq.            7100-000                    0.00         N/A                 N/A             0.00

 NOTFILED-1 Manranjan Ramkirt           7100-000            250,000.00           N/A                 N/A             0.00

 TOTAL GENERAL UNSECURED                                   $500,000.00            $5,041.64       $5,041.64     $4,865.03
 CLAIMS



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                                                                                                                                                                           Exhibit 8


                                                                                 Form 1                                                                                    Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 1-19-40052-NHL                                                              Trustee:       (520900)      DAVID J. DOYAGA SR.
Case Name:        UNIVERSAL PROPERTIES INC.                                              Filed (f) or Converted (c): 01/04/19 (f)
                                                                                         §341(a) Meeting Date:        02/08/19
Period Ending: 10/06/20                                                                  Claims Bar Date:             07/02/19

                                1                                         2                         3                       4                    5                     6

                    Asset Description                                Petition/             Estimated Net Value         Property             Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                      Values             Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

 1       Judgment agaisnt Andre Acevedo and Rosa Diaz 7/2                     0.00                        0.00                                        0.00                     FA
          Orig. Description: Judgment agaisnt Andre Acevedo
         and Rosa Diaz 7/2014 Index No. 060043/2014.
         Amount Requested: $12,000.00; Imported from
         original petition Doc# 1

 2       Potential fraudulent conveyance action against 1                 Unknown                         0.00                                   25,000.00                     FA
          Orig. Description: Potential fraudulent conveyance
         action against 101-51-53 95th Street LLC, transfer of
         2,775,000 value (101-51 95th Street, Ozone Park)
         101-53 95th Street, Ozone Park, against debt of
         $1,780,287, Claim against 165 Newport LLC and
         Ontario Wealth Management Corporation to set aside
         transfer of real property located at 101-51-53 985th
         Street, Ozone Park, transfer in violation of automatic
         stay.. Amount Requested: $0.00; Imported from
         original petition Doc# 1

 2       Assets     Totals (Excluding unknown values)                         $0.00                      $0.00                                  $25,000.00                  $0.00



     Major Activities Affecting Case Closing:

     Initial Projected Date Of Final Report (TFR):        May 31, 2020                     Current Projected Date Of Final Report (TFR):       July 2, 2020 (Actual)




                                                                                                                                           Printed: 10/06/2020 11:15 AM     V.20.23
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                                                                                                                                                                                Exhibit 9


                                                                                 Form 2                                                                                         Page: 1

                                                         Cash Receipts And Disbursements Record
Case Number:         1-19-40052-NHL                                                               Trustee:            DAVID J. DOYAGA SR. (520900)
Case Name:           UNIVERSAL PROPERTIES INC.                                                    Bank Name:          People's United Bank
                                                                                                  Account:            ********0502 - Checking Account
Taxpayer ID #: **-***2536                                                                         Blanket Bond:       $48,172,046.00 (per case limit)
Period Ending: 10/06/20                                                                           Separate Bond: N/A

   1            2                            3                                     4                                              5                     6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction              T-Code              $                   $       Account Balance
08/29/19       {2}        The Goldstein Group Equity LLC                                                     1129-000             25,000.00                                 25,000.00
01/08/20      101         International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                 2300-000                                        7.48           24,992.52
                                                              BALANCE AS OF 12/31/2019 FOR CASE
                                                              #119-40052, 2020 Bond Payment
03/11/20                  Misc Adjustment                     Misc Adjustment                                9999-000                                   24,992.52                  0.00

                                                                                 ACCOUNT TOTALS                                   25,000.00             25,000.00                 $0.00
                                                                                        Less: Bank Transfers                           0.00             24,992.52
                                                                                 Subtotal                                         25,000.00                  7.48
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                   $25,000.00                  $7.48




{} Asset reference(s)                                                                                                                        Printed: 10/06/2020 11:15 AM        V.20.23
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                                                                                                                                                                                 Exhibit 9


                                                                                    Form 2                                                                                        Page: 2

                                                      Cash Receipts And Disbursements Record
Case Number:        1-19-40052-NHL                                                                   Trustee:            DAVID J. DOYAGA SR. (520900)
Case Name:          UNIVERSAL PROPERTIES INC.                                                        Bank Name:          Metropolitan Commercial Bank
                                                                                                     Account:            ******5641 - Checking Account
Taxpayer ID #: **-***2536                                                                            Blanket Bond:       $48,172,046.00 (per case limit)
Period Ending: 10/06/20                                                                              Separate Bond: N/A

   1            2                          3                                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                  T-Code              $                  $       Account Balance
03/11/20                 Transition Transfer Credit         Transition Transfer Credit                          9999-000            24,992.52                                24,992.52
03/31/20                 Metropolitan Commercial Bank       Bank and Technology Services Fee                    2600-000                                        19.97        24,972.55
04/30/20                 Metropolitan Commercial Bank       Bank and Technology Services Fee                    2600-000                                        39.91        24,932.64
05/29/20                 Metropolitan Commercial Bank       Bank and Technology Services Fee                    2600-000                                        38.52        24,894.12
08/19/20     10102       DAVID J. DOYAGA SR.                Dividend paid 100.00% on $3,250.00, Trustee         2100-000                                    3,250.00         21,644.12
                                                            Compensation; Reference:
08/19/20     10103       Rosen, Kantrow & Dillon, PLLC      Dividend paid 100.00% on $11,313.50, Special 3210-600                                          11,313.50         10,330.62
                                                            Counsel for Trustee Fees; Reference:
08/19/20     10104       Rosen, Kantrow & Dillon, PLLC      Dividend paid 100.00% on $99.63, Special            3220-610                                        99.63        10,230.99
                                                            Counsel for Trustee Expenses; Reference:
08/19/20     10105       Internal Revenue Service           Dividend paid 100.00% on $4,150.46; Claim#          5800-000                                    4,150.46             6,080.53
                                                            2P-1; Filed: $4,150.46;
08/19/20     10106       New York State Department of       Dividend paid 100.00% on $1,215.50; Claim#          5800-000                                    1,215.50             4,865.03
                         Taxation & Finance                 4P-1; Filed: $1,215.50;
08/19/20     10107       CONSOLIDATED EDISON                Dividend paid 100.00% on $229.61; Claim# 1          7100-000                                       229.61            4,635.42
                         COMPANY OF NEW YORK, INC           -1; Filed: $229.61;
08/19/20     10108       Internal Revenue Service           Dividend paid 100.00% on $4,562.03; Claim#          7100-000                                    4,562.03               73.39
                                                            2U-1; Filed: $4,562.03;
08/19/20     10109       New York State Department of       Dividend paid 29.35% on $250.00; Claim#             7200-000                                        73.39                0.00
                         Taxation & Finance                 4U-1; Filed: $250.00;

                                                                                    ACCOUNT TOTALS                                  24,992.52              24,992.52               $0.00
                                                                                           Less: Bank Transfers                     24,992.52                    0.00
                                                                                    Subtotal                                              0.00             24,992.52
                                                                                           Less: Payments to Debtors                                             0.00
                                                                                    NET Receipts / Disbursements                         $0.00           $24,992.52

                               Net Receipts :         25,000.00
                                                  ————————                                                                             Net             Net                   Account
                                 Net Estate :        $25,000.00                     TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances

                                                                                    Checking # ********0502                         25,000.00                    7.48               0.00
                                                                                    Checking # ******5641                                 0.00             24,992.52                0.00

                                                                                                                                   $25,000.00            $25,000.00                $0.00




{} Asset reference(s)                                                                                                                         Printed: 10/06/2020 11:15 AM        V.20.23
